                          Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 1 of 25


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Soft Surroundings Holdings, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  1100 N. Lindbergh Blvd.
                                  Saint Louis, MO 63132
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Saint Louis                                                    Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                          Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 2 of 25
Debtor    Soft Surroundings Holdings, LLC                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                             4481

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
     business debtor” must check           Chapter 11. Check all that apply:
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                            Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 3 of 25
Debtor    Soft Surroundings Holdings, LLC                                                                 Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor      See Rider 1                                                   Relationship               Affiliate
                                                     District   Southern District of Texas When         9/10/2023              Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                              1,000-5,000                                25,001-50,000
    creditors                              50-99                                             5001-10,000                                50,001-100,000
                                           100-199                                           10,001-25,000                              More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities                  $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                         Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 4 of 25
Debtor    Soft Surroundings Holdings, LLC                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on          09/10/2023
                                                    MM / DD / YYYY


                                   /s/ Curt Kroll                                                         Curt Kroll
                             X
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Chief Restructuring Officer




18. Signature of attorney    X                                                                             Date 9/10/2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Elizabeth C. Freeman
                                 Printed name

                                 Law Office of Liz Freeman
                                 Firm name

                                 PO Box 61209
                                 Houston, TX 77208-1209
                                 Number, Street, City, State & ZIP Code


                                 Contact phone       (832) 779-3580              Email address      liz@lizfreemanlaw.com

                                 2400922 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
        Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 5 of 25




                                          Rider 1

    Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On the date hereof, each of the entities listed below (collectively, the “Debtors”)
filed a petition in the United States Bankruptcy Court for the Southern District of Texas
for relief under chapter 11 of title 11 of the United States Code. The Debtors have moved
for joint administration of these cases under the case number assigned to the chapter 11
case of Soft Surroundings Holdings, LLC.

   •   Soft Surroundings Holdings, LLC
   •   Soft Surroundings Intermediate Holdings, LLC
   •   Triad Catalog Co., L.L.C.
   •   Triad Retail, L.L.C.
              Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 6 of 25




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                       )
    In re:                                                             )   Chapter 11
                                                                       )
    SOFT SURROUNDINGS HOLDINGS, LLC, et al.,                           )   Case No. 23-[_____] (___)
                                                                       )
                              Debtors.                                 )
                                                                       )

                               LIST OF EQUITY SECURITY HOLDERS 1

                                                                                               Percentage of
              Equity Holder                      Address of Equity Holder
                                                                                                Equity Held
                                              11150 Santa Monica Boulevard,
     BA-MOLAGERS SPV, LLC                              Suite 1200                                    71.6%
                                                  Los Angeles, CA 90025
                                              11150 Santa Monica Boulevard,
             BAPE IV-AIV, L.P                          Suite 1200                                    19.8%
                                                  Los Angeles, CA 90025




1
      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the Federal Rules of
      Bankruptcy Procedure. All equity positions listed indicate the record holder of greater than 10% such equity as
      of the date of commencement of the chapter 11 case.
             Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 7 of 25




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                       )
    In re:                                                             )   Chapter 11
                                                                       )
    SOFT SURROUNDINGS HOLDINGS, LLC, et al.,                           )   Case No. 23-[_____] (___)
                                                                       )
                              Debtors.                                 )
                                                                       )

                              CORPORATE OWNERSHIP STATEMENT 1

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the following are corporations, other than a government unit, that directly or indirectly own 10%
or more of any class of the debtor’s equity interest:

                       Shareholder                             Approximate Percentage of Shares Held
             BA-MOLAGERS SPV, LLC                                                     71.6%
                  BAPE IV-AIV, L.P                                                    19.8%




1
      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the Federal Rules of
      Bankruptcy Procedure. All equity positions listed indicate the record holder of greater than 10% such equity as
      of the date of commencement of the chapter 11 case.
                           Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 8 of 25


      Fill in this information to identify the case:

      Debtor name:    Soft Surroundings Holdings, LLC

      United States Bankruptcy Court for the:    Southern               District of Texas
                                                                                 (State)
                                                                                                                                               Check if this is an
      Case number (If known):
                                                                                                                                                  amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 35 Largest
    Unsecured Claims and Are Not Insiders                                    12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims w hich the debtor
    disputes. Do not include claims by any person or entity w ho is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete mailing            Name, telephone number,   Nature of the claim    Indicate if   Amount of unsecured claim
     address, including zip code                      and email address of      (f or example, trade   claim is      If the claim is f ully unsecured, fill in only unsecured
                                                      creditor contact          debts, bank loans,     contingent, claim amount. If claim is partially secured, f ill in
                                                                                prof essional          unliquidated, total claim amount and deduction f or v alue of
                                                                                serv ices, and         or disputed collateral or setof f to calculate unsecured claim.
                                                                                gov ernment
                                                                                contracts)

                                                                                                                       Total claim, if    Deduction for      Unsecured
                                                                                                                       partially          value of           claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
     Jiaxing Mengdi Import & Export                                                                                                                            $3,399,755.07
1    18th Floor, Longway Plaza Building No 960
     Chengnan Road
     Jiaxing Zhejiang, China

     Hangzhou Sino-Italy Apparel Co Ltd.                                                                                                                       $2,750,000.55
2    4340 Fulton Avenue, 3rd Floor
     Attn: Creditors Adjustment Bureau, Inc.
     Sherman Oaks, CA, 91423

     Zhejiang Jiaxin Silk Corp Ltd                                                                                                                             $2,496,555.46
3    Jiaxin Silk Plaza, No 588
     Zhejiang Road (West)
     Jiaxing, Zhejiang, China

     Zhejiang Top Mondial Grmnt Co                                                                                                                             $1,052,695.45
4    Section A, Central Ave
     Changxing Economy Development
     Huzhou Zhejiang, China

     Lsc Communications US, LLC                                                                                                                                  $986,611.91
5    531 Roselane Street NW, Suite 400
     Marietta, GA, 30060


     Choi & Shin's Co., Ltd                                                                                                                                      $736,741.33
6    8 Yangpyeong-Ro 25 Gil, Yeongdeungpo-GU
     Seoul, South Korea


     Zhejiang Sanyuan Holding Group                                                                                                                              $704,947.34
7    10 F, No. 25 Juye Road, Binjiang District
     Hangzhou, China


     Meta Platforms Inc                                                                                                                                          $648,886.75
8    15161 Collection Center Dr.
     Chicago, IL, 60693




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Hav e the 35 Largest Unsecured Claims                                     page 1
                            Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 9 of 25

                   Soft Surroundings Holdings, LLC
    Debtor                                                                                          Case number (if known)
                  Name




     Name of creditor and complete mailing         Name, telephone number,   Nature of the claim      Indicate if   Amount of unsecured claim
     address, including zip code                   and email address of      (f or example, trade     claim is      If the claim is f ully unsecured, fill in only unsecured
                                                   creditor contact          debts, bank loans,       contingent, claim amount. If claim is partially secured, f ill in
                                                                             prof essional            unliquidated, total claim amount and deduction f or v alue of
                                                                             serv ices, and           or disputed collateral or setof f to calculate unsecured claim.
                                                                             gov ernment
                                                                             contracts)
                                                                                                                       Total claim, if   Deduction for      Unsecured
                                                                                                                       partially         value of           claim
                                                                                                                       secured           collateral or
                                                                                                                                         setoff

     Maral Overseas Limited                                                                                                                                     $623,132.94
9    12/4, Main Mathura Road Sector - 37
     Faridabad,
     Haryana, 121003, India

   Shanghai Sunwin Industry Group                                                                                                                               $619,069.18
10 2/F, NO.17, LANE 688
     Hengnan, Minhang District
     Shanghai, ,China

   Google LLC                                                                                                                                                   $566,769.10
11 Dept. 33654, PO BOX 39000
     San Francisco, CA, 94139


   Tolani Collection                                                                                                                                            $548,557.20
12 1621 South Rancho Santa Fe Road, Suite B
     San Marcos, CA, 92078


   World Textile Sourcing, Inc.                                                                                                                                 $541,701.54
13 Calle Aldabas 540, 4th Floor, Lima 33
     Santiago de Surco, 15023, Peru


   Pitney Bowes Global Ecommerce                                                                                                                                $516,885.55
14 3001 Summer Street
     Stamford, CT, 06926


   Tillsonburg Company Limited                                                                                                                                  $504,763.39
15 18/F Corporation Square, 8 Lam Lok Street
     Kowloon Bay, Hong Kong


   Gtig Hubo Industrial Co., Ltd.                                                                                                                               $501,296.83
16 21F, Tower B, Guotai Financial Plaza
     Building No 960 Chengnan Road,
     Jiaxing Zhejiang, 0, 314001, China

   Lindenmeyr Central                                                                                                                                           $396,726.94
17 Three Manhattanville Road,
     Purchase, NY, 10577,


   Ahujas Web Private Limited                                                                                                                                   $370,133.68
18 D-80 Okhla Industrial Area Phase-I
     New Delhi, , 110 020, India


   Wpromote, LLC                                                                                                                                                $365,101.85
19 2100 East Grand Avenue, 1st Floor
     El Segundo, CA, 90245


   Asya Tekstil                                                                                                                                                 $319,802.03
20 Yildirm Beyazit CAD. No 29 Kat 3
     Bahcelievler
     Istanbul, Turkey




    Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Hav e the 35 Largest Unsecured Claims                                 page 2
                            Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 10 of 25

                  Soft Surroundings Holdings, LLC
  Debtor                                                                                           Case number (if known)
                 Name




    Name of creditor and complete mailing         Name, telephone number,   Nature of the claim      Indicate if   Amount of unsecured claim
    address, including zip code                   and email address of      (f or example, trade     claim is      If the claim is f ully unsecured, fill in only unsecured
                                                  creditor contact          debts, bank loans,       contingent, claim amount. If claim is partially secured, f ill in
                                                                            prof essional            unliquidated, total claim amount and deduction f or v alue of
                                                                            serv ices, and           or disputed collateral or setof f to calculate unsecured claim.
                                                                            gov ernment
                                                                            contracts)

                                                                                                                      Total claim, if   Deduction for      Unsecured
                                                                                                                      partially         value of           claim
                                                                                                                      secured           collateral or
                                                                                                                                        setoff

   Royal Concepts Inc.                                                                                                                                         $303,583.50
21 505 N. Pacific Avenue
   San Pedro, CA, 92078


   Listrak                                                                                                                                                     $302,723.84
22 100 W. Millport Rd.
    Lititz, PA, 17543


   Jiva Designs Pvt Ltd                                                                                                                                        $300,454.08
23 Plot No 68/1, Phase 1 DLF Faridabad
    Haryana, 121003, India


   Shanghai Yundi Trading Co                                                                                                                                   $279,624.35
24 10-401 Huaqing Chuangzhi Park, Huishan
    Economic Development Zone,
    Wuxi, 214000, China

   Jiaxing Vision Garment Co, Ltd                                                                                                                              $268,560.03
25 NO. 122 Tongde Road, Jiaxing City
    Zhejiang, 0, 314033, China


   Zhejiang Xin'an Fashion Co Ltd.                                                                                                                             $245,983.58
26 27/F, King Palace Place, 55 King Yip Street,
    Kwun Tong
    Kowloon, Hong Kong

   Fedex                                                                                                                                                       $234,470.72
27 PO BOX 371461,
    Pittsburg, PA, 15250-7461,


   Tua Fashion, Inc.                                                                                                                                           $177,750.00
28 540 E 31st Street
    Los Angeles, CA, 90011


   Muche Et Muchette, LLC                                                                                                                                      $175,875.00
29 8020 NW 14 ST
    Doral, FL 33126


   Royal Mechanical Services, Inc.                                                                                                                             $135,551.77
30 PO Box 23116
    Overland Park, KS, 66283


   Metro Creve Coeur, LLC                                                                                                                                      $123,570.00
31 1100 North Lindbergh Blvd.
    Saint Louis, MO, 63132


   Ahuja Overseas                                                                                                                                              $122,695.05
32 B-8A Malviya Industrial Area
    Jaipur, India, 302017




  Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Hav e the 35 Largest Unsecured Claims                                  page 3
                        Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 11 of 25

                  Soft Surroundings Holdings, LLC
  Debtor                                                                                         Case number (if known)
                Name




   Name of creditor and complete mailing        Name, telephone number,   Nature of the claim      Indicate if   Amount of unsecured claim
   address, including zip code                  and email address of      (f or example, trade     claim is      If the claim is f ully unsecured, fill in only unsecured
                                                creditor contact          debts, bank loans,       contingent, claim amount. If claim is partially secured, f ill in
                                                                          prof essional            unliquidated, total claim amount and deduction f or v alue of
                                                                          serv ices, and           or disputed collateral or setof f to calculate unsecured claim.
                                                                          gov ernment
                                                                          contracts)

                                                                                                                    Total claim, if   Deduction for      Unsecured
                                                                                                                    partially         value of           claim
                                                                                                                    secured           collateral or
                                                                                                                                      setoff

   Colortek Inc.                                                                                                                                             $118,812.87
33 10625 Gateway Blvd.
   Saint Louis, MO, 63132


   Bridgewater Commons Mall II LLC                                                                                                                           $112,953.07
34 1701 River Run Road, Suite 500
   Fort Worth, TX, 76107


   UPS Mail Innovations, Inc.                                                                                                                                $109,585.97
35 55 Glenway Parkway NE
   Atlanta, GA, 30328




  Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Hav e the 35 Largest Unsecured Claims                                 page 4
                       Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 12 of 25

 Fill in this information to identify the case and this filing:


                Soft Surroundings Holdings, LLC
 Debtor Name __________________________________________________________________
                                            Southern                         Texas
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                                   (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          Other document that requires a declaration__________________________________________________________________________________
                                                       List of Equity Security Holders and Corporate Ownership Statement




        I declare under penalty of perjury that the foregoing is true and correct.


                      09/10/2023
        Executed on ______________                               /s/ Curt Kroll
                                                                   _________________________________________________________________________
                           MM / DD / YYYY                           Signature of individual signing on behalf of debtor



                                                                      Curt Kroll
                                                                    ________________________________________________________________________
                                                                    Printed name

                                                                     Chief Restructuring Officer
                                                                    ______________________________________
                                                                    Position or relationship to debtor



Official Form 202                                 Declaration Under Penalty of Perjury for Non-Individual Debtors
        Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 13 of 25




   OMNIBUS WRITTEN CONSENT OF THE BOARD OF MANAGERS OR OTHER
    SIMILAR GOVERNING BODY OF SOFT SURROUNDINGS HOLDINGS, LLC,
          SOFT SURROUNDINGS INTERMEDIATE HOLDINGS, LLC,
   TRIAD CATALOG CO., L.L.C., AND TRIAD RETAIL, L.L.C., AS APPLICABLE

                                    SEPTEMBER 10, 2023

        We, the undersigned, are the requisite members of the board of managers or similar
governing body (each, an “Authorizing Body,” and, collectively, the “Authorizing Bodies”) of
Soft Surroundings Holdings, LLC and the subsidiaries set forth on Exhibit A, attached here,
(together with Soft Surroundings Holdings, LLC., each a “Company,” and, collectively, the
“Companies”), and each organized and existing under the internal laws of the state of incorporation
or formation, as applicable, as set forth in each Company’s charter of incorporation or applicable
organizational documents. Each Authorizing Body, in such capacity on behalf of the applicable
Company, hereby takes the following actions and adopts the following resolutions by unanimous
written consent pursuant to each Company’s bylaws, limited liability company agreement, or such
similar operating document and the applicable laws of the state of incorporation or formation of
each Company, as applicable.

        WHEREAS, on September 10, 2023, pursuant to an omnibus written consent, the
Authorizing Bodies authorized the Companies to enter into and perform under that certain
restructuring support agreement (as may be amended, supplemented, or modified, and containing
all exhibits and schedules thereto, the “Restructuring Support Agreement”);

         WHEREAS the Authorizing Bodies, have reviewed and considered the filing of voluntary
petitions for relief for the Companies under the provisions of chapter 11 of title 11 of the United
States Code, 11 U.S.C. § 101 et seq. (as amended, the “Bankruptcy Code”) pursuant to applicable
law and in accordance with the requirements of each Company’s governing documents and
applicable law (the “Restructuring Matters”);

       WHEREAS, the Authorizing Bodies have reviewed and considered the materials
presented by the management of the Companies, the Chief Restructuring Officer of Soft
Surroundings Holdings, LLC, and the Companies’ financial and legal advisors, and have had
adequate opportunity to consult such persons regarding the materials presented, obtain additional
information, and to fully consider each of the strategic alternatives available to the Companies;

        WHEREAS, the Authorizing Bodies have reviewed and considered presentations by the
Companies’ financial and legal advisors regarding the transactions contemplated under the
Restructuring Support Agreement, and the chapter 11 plan of reorganization contemplated by the
Restructuring Support Agreement (as amended or restated from time to time, the “Plan”) as well
as a disclosure statement with all related exhibits thereto (as amended or restated from time to
time, the “Disclosure Statement”), the advantages and disadvantages to the Companies for
implementing the restructuring transactions contemplated under the Plan pursuant to a chapter 11
process, feedback from the Companies’ stakeholders and counterparties to the Restructuring
Support Agreement regarding implementation of the transactions contemplated thereunder, and
        Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 14 of 25



the present facts and circumstances in relation to the transactions contemplated under the
Restructuring Support Agreement;

         WHEREAS, the Authorizing Bodies have determined, in their business judgement, that
the following resolutions are advisable and in the best interest of the Companies, their creditors,
other stakeholders, and other parties in interest;

        NOW, THEREFORE, IT IS HEREBY RESOLVED, that, pursuant to the applicable
governing documents of each Company, the undersigned do hereby adopt the following
resolutions:

                                         Chapter 11 Filing

        RESOLVED, in the business judgment of the Authorizing Bodies, it is desirable and in
the best interests of the Companies, the creditors, other stakeholders, and other parties in interest,
that each Company files or causes to be filed voluntary petitions for relief (the “Bankruptcy
Petitions”) under the provisions of chapter 11 of the Bankruptcy Code in the United States
Bankruptcy Court for the Southern District of Texas, and any other petition for relief or recognition
or other order that may be desirable under applicable law in the United States, and, in accordance
with the requirements in each Company’s governing documents and applicable law, hereby
consents to, authorizes and approves, the filing of the Bankruptcy Petitions;

        FURTHER RESOLVED that any director or other duly appointed officer of the
Companies, which, for the avoidance of doubt, includes the Chief Restructuring Officer and Chief
Financial Officer, and any duly appointed successor thereto or any person holding any similar
position, (such persons collectively, the “Authorized Persons”), shall be, and each of them
individually hereby is, authorized and directed for and on behalf of each Company to take all
actions (including, without limitation, to negotiate and execute any documents, certificates,
supplemental agreements, and instruments) to act as signatory and attorney on behalf of each
Company in respect of the Restructuring Matters and/or any persons to whom such Authorized
Persons and/or officers delegate certain responsibilities, be, and hereby are, authorized to execute
and file on behalf of each Company all petitions, schedules, lists, and other motions, papers, or
documents, and to take any and all action that they deem necessary or proper to obtain such relief,
including, but not limited to, any action necessary or proper to maintain the ordinary course
operations of each Company’s or any of its subsidiary’s businesses;

         FURTHER RESOLVED that each Authorized Person be, and hereby is, authorized,
empowered, and directed, together with the financial and legal advisors to the Companies, to take
all actions or to not take any action in the name of Soft Surroundings Holdings, LLC and its direct
and indirect subsidiaries with respect to the transactions contemplated by the Restructuring
Support Agreement and these resolutions, as such Authorized Persons shall deem necessary or
desirable in such Authorized Persons’ reasonable business judgment;

        FURTHER RESOLVED, that in the business judgment of the Authorizing Bodies, it is
desirable and in the best interests of each Company, its creditors, and other stakeholders that the
Authorized Persons file or cause to be filed the Plan, the Disclosure Statement, and all other papers
or documents (including any amendments) related thereto, and to take any and all actions that the
        Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 15 of 25



Authorizing Bodies deem necessary or appropriate to pursue confirmation and consummation of
a plan of reorganization materially consistent with the Plan;

        FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed, together with the financial and legal advisors of the Companies, to file
all other documents as each, in his or her discretion, may deem necessary or advisable to confirm
a plan of reorganization materially consistent with the Plan, including, but not limited to, any
amendments to, and modifications of, the Plan and the Disclosure Statement;

        FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed to take or cause to be taken any and all such other and further action, and
to execute, acknowledge, deliver, and file any and all such instruments as each, in his or her
discretion, may deem necessary or advisable in order to consummate the Plan if confirmed by the
Bankruptcy Court; and

       FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed to execute and file on behalf of each Company all other petitions,
schedules, lists, and other motions, papers, or documents, and to take any and all action that they
deem necessary or proper to obtain such relief, including, without limitation, any action necessary
to maintain the ordinary course operation of the Companies’ businesses.

                                    Retention of Professionals

         RESOLVED, each of the Authorized Persons, be, and hereby are, authorized, empowered,
and directed to retain on behalf of each Company: (i) the law firm of Katten Muchin Rosenman
LLP as bankruptcy counsel; (ii) the law office of Liz Freeman as local bankruptcy counsel and
conflicts counsel; (iii) SSG Capital Partners, LLC as investment banker; (iv) SierraConstellation
Partners, LLC for CRO support; (v) Stretto, Inc. as claims, noticing, and solicitation agent; and
(vi) any other legal counsel, accountants, financial advisors, tax advisors, restructuring advisors or
other professionals the Authorized Persons deem necessary, appropriate or advisable; each to
represent and assist each Company in carrying out its duties and responsibilities and exercising its
rights under the Bankruptcy Code and any applicable law (including, but not limited to, the law
firms filing any pleadings or responses); and in connection therewith, the Authorized Persons, be,
and hereby are authorized, empowered and directed, in accordance with the terms and conditions
hereof, to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
filed appropriate applications for authority to retain such services; and

        FURTHER RESOLVED, each of the Authorized Persons, be, and hereby are, authorized,
empowered and directed to execute and file all petitions, schedules, motions, lists, applications,
pleadings, and other papers, and to perform such further actions and execute such further
documentation that the Authorized Persons in their absolute discretion deem necessary,
appropriate or desirable in accordance with these resolutions.

      Debtor–in-Possession Financing, Use of Cash Collateral, and Adequate Protection

        RESOLVED, that each Company will obtain benefits, which are necessary and convenient
to the conduct, promotion, and attainment of the business of such Company from (a) the use of
        Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 16 of 25



collateral, including cash collateral, as that term is defined in section 361(a) of the Bankruptcy
Code (the “Cash Collateral”), which is security for certain prepetition secured lenders, and (b) the
incurrence of debtor-in-possession financing obligations by entering into that certain senior
secured, super-priority debtor-in-possession credit agreement (the “DIP Credit Agreement” and
such financing obligations, the “DIP Financing”) and such other agreements, certificates,
instruments, fee letters, guaranties, notices, receipts, recordings, filings, petitions, motions, or any
other papers or documents to which such Company is or will be a party, including, but not limited
to, any security and pledge agreement or guaranty agreement (collectively, with the DIP Credit
Agreement, the “DIP Documents”), with the prepetition first lien lender (the “DIP Lender”);

        FURTHER RESOLVED, each of the Authorized Persons be, and hereby are, authorized,
directed and empowered in the name of, and on behalf of, each Company to seek approval of the
DIP Documents pursuant to an order of the Bankruptcy Court in interim and final form (a “DIP
Order”), and, to the extent applicable to the Company, any Authorized Person be, and hereby is,
authorized, empowered, and directed to negotiate, execute, and deliver any and all DIP
Documents, by or on behalf of the Company, necessary or advisable to implement the DIP Order,
including providing for adequate protection to the Prepetition First Lien Lender in accordance with
section 363 of the Bankruptcy Code (the “Adequate Protection Obligations”), as well as any
additional or further agreements for the use of cash collateral in connection with the chapter 11
cases, which agreement(s) may require the Companies to grant adequate protection and security
interests to the DIP Lender and each other agreement, instrument, or document to be executed and
delivered in connection therewith, by or on behalf of the Companies pursuant thereto or in
connection therewith, all with such changes therein and additions thereto as any Authorized
Person, such approval to be conclusively evidenced by the taking of such action or by the execution
and delivery thereof.

                                     Further and Prior Actions

        RESOLVED, the Companies are hereby authorized to authorize (and each Company
hereby authorizes) any direct or indirect subsidiary of each Company or any entity of which such
Company or any subsidiary of such Company is the sole member, general partner, managing
member, or equivalent manager, as applicable, to take each of the actions described in these
resolutions or any of the actions authorized in these resolutions, and none of the resolutions
contained herein, or action taken in furtherance hereto, shall have or cause an adverse effect on
any such subsidiary or such Company’s interest therein (including without limitation, any
automatic dissolution, divestiture, dissociation, or like event under applicable law).


        FURTHER RESOLVED, in addition to the specific authorizations heretofore conferred
upon such Authorized Persons, each of the Authorized Persons (and their designees and delegates),
either individually or as otherwise required by each Company’s governing documents and
applicable law, be, and hereby is, authorized and empowered, in the name of and on behalf of each
Company, to take or cause to be taken any and all such other and further actions, and to execute,
acknowledge, deliver, and file any and all such agreements, certificates, instruments, powers of
attorney, letters, forms, transfer, deeds and other documents, and to pay all expenses, including
but not limited to filing fees, in each case as the individual acting may in his/her absolute
discretion, deem or determine shall be necessary, appropriate, or desirable in order to fully carry
        Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 17 of 25



out the intent and accomplish the purposes of the resolution adopted herein (such approval,
deeming or determination to be conclusively evidenced by said individual taking such action or
the execution thereof).

        FURTHER RESOLVED, the Authorizing Bodies have received sufficient notice of the
actions and transactions relating to the matters contemplated by the foregoing resolutions, as may
be required by the governing documents of each Company, or hereby waives any right to have
received such notice.

         FURTHER RESOLVED, all acts, actions, and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of each Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved, confirmed and
ratified as the true acts and deeds of each Company with the same force and effect as if each such
act, transaction, agreement, or certificate had been specifically authorized in advance by resolution
of the Authorizing Bodies.



                                              ** ***
       Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 18 of 25



IN WITNESS WHEREOF, the undersigned have executed this written consent as of the date
first set forth above. This unanimous written consent may be signed by facsimile or other
electronic means, with any such signature being of the same force and effect as an original
signature, and in multiple counterparts, all of which will constitute one document.

                                                SOFT SURROUNDINGS HOLDINGS, LLC




                                                William Barnum
                                                Director




                                                Eric Reiter
                                                Director




                                                Ivona Smith
                                                Director
Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 19 of 25
       Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 20 of 25



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signature, and in multiple counterparts, all of which will constitute one document.

                                                SOFT SURROUNDINGS HOLDINGS, LLC




                                                William Barnum
                                                Director




                                                Eric Reiter
                                                Director




                                                Ivona Smith
                                                Director
Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 21 of 25




                            SOFT SURROUNDINGS INTERMEDIATE
                            HOLDINGS, LLC
                            By: Soft Surroundings Holdings, LLC
                            Its: Sole Member



                            Curt Kroll
                            Chief Restructuring Officer
Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 22 of 25




                             TRIAD CATALOG CO., L.L.C.
                             By: Soft Surroundings Intermediate Holdings, LLC
                             Its: Sole Member



                             Curt Kroll
                             Chief Restructuring Officer
Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 23 of 25




                             TRIAD RETAIL, L.L.C.
                             By: Triad Catalog Co., L.L.C.
                             Its: Sole Member



                             Curt Kroll
                             Chief Restructuring Officer
         Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 24 of 25




        The undersigned member of Soft Surroundings Holdings, LLC hereby grants its prior
written consent for Soft Surroundings Holdings, LLC to enter into, deliver, and consummate the
transactions contemplated by that certain senior secured, super-priority debtor-in-possession
credit agreement by and among Triad Catalog Co., L.L.C. and Triad Retail, L.L.C. as borrowers,
Soft Surroundings Holdings, LLC and Soft Surroundings Intermediate Holdings, LLC, as
guarantors, 1903P Loan Agent, LLC as agent, and 1903 Partners, LLC as lender, dated as of
September 10, 2023, and the other Loan Documents (as defined therein), in each case for which
the approval of the undersigned is or may be required pursuant to Section 5.16 of that certain
Fourth Amended and Restated Limited Liability Company Agreement of Soft Surroundings
Holdings, LLC dated as of July 8, 2021 (the “LLC Agreement”) and/or any other provision of
the LLC Agreement. The foregoing consent is not intended to provide, and shall not be deemed
to provide, to any party any rights, whether as third-party beneficiary or otherwise, and the
foregoing consent shall not be deemed to create any legally binding obligation on the part of any
person or entity with respect to the matters set forth above.


BRENTWOOD IV HOLDINGS, INC.


By:
Name: Eric Reiter
Title: Vice President, Treasurer, and Secretary


Being a member of
Soft Surroundings Holdings, LLC


Dated as of September 10, 2023




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       Case 23-90769 Document 1 Filed in TXSB on 09/10/23 Page 25 of 25




                                        Exhibit A
                                    Company Entities
Soft Surroundings Holdings, LLC
Soft Surroundings Intermediate Holdings, LLC
Triad Catalog Co., L.L.C.
Triad Retail, L.L.C.
